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                                   UNITED STATES BANKRUPTCY COURT


                                      MIDDLE DISTRICT OF TENNESSEE

                                            701 Broadway Room 170
                                              Nashville, TN 37203

                                    Bankruptcy Proceeding No. 3:17−bk−04932
                                                   Chapter 13
                                            Judge Charles M Walker

In Re:
   STEPHEN JETTON TAYLOR
   2606 MERCER PLACE
   Thompsons Station, TN 37179
Social Security No.
   xxx−xx−1340
Employer's Tax I.D. No.


PLEASE TAKE NOTICE that a hearing will be held at:

Courtroom 1, 2nd Floor Customs House, 701 Broadway, Nashville, TN 37203 on 2/14/18 at 08:30 AM

to consider and act upon the following:


32 − Trustee's Motion for (to) Disallow Claim of Loancare Inc. (Court Claim 8) and Motion for Determination of
Prepetition Arrears and Ongoing Mortgage Payment. Certificate of Service Mailed on 01/16/2018. Filed on the behalf
of: Trustee HENRY EDWARD HILDEBRAND III. (HILDEBRAND, HENRY)




Dated: 1/16/18                                           /s/ MATTHEW T LOUGHNEY
                                                         Clerk, U.S. Bankruptcy Court




        Case 3:17-bk-04932          Doc 33 Filed 01/16/18 Entered 01/16/18 11:21:52                 Desc
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